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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

NETLIST, INC.,                          )
                                        )
            Plaintiff,                  )
                                        )   Case No. 2:22-cv-293-JRG
      vs.                               )
                                        )   JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO, LTD;            )   (Lead Case)
SAMSUNG ELECTRONICS AMERICA,            )
INC.; SAMSUNG SEMICONDUCTOR             )
INC.,                                   )
                                        )
            Defendants.                 )

NETLIST, INC.,                          )
                                        )
            Plaintiff,                  )
                                        )
                                            Case No. 2:22-cv-294-JRG
      vs.                               )
                                        )
                                            JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC.;                )
MICRON SEMICONDUCTOR                    )
PRODUCTS, INC.; MICRON                  )
TECHNOLOGY TEXAS LLC,                   )
                                        )
            Defendants.                 )

   NETLIST, INC.’S OPPOSITION TO SAMSUNG’S MOTION TO COMPEL A
COMPLETE RESPONSE TO SAMSUNG’S DAMAGES INTERROGATORY (DKT. 176)
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       Samsung’s motion should be denied. Netlist has provided appropriate disclosures and

adequately responded to Samsung’s interrogatories. Samsung now seeks to compel Netlist’s

computation of damages, which the Discovery Order properly defers until expert disclosures.

Samsung’s accusations of litigation by ambush ring hollow. Netlist is not trying to delay disclosure;

Samsung is attempting to gain an advantage by forcing Netlist to provide premature expert disclosures.

I.     FACTUAL BACKGROUND

       Samsung’s Interrogatory No. 8 seeks very broad information regarding damages computation:

“For each of the Patents-in-Suit, describe in complete detail and identify documents that support Your

contention as to the measure and proper calculation of any and all damages and harm claimed

against Samsung in this litigation to You, including [many specific details].” Dkt. 176-1 (Tishman

Decl.) ¶ 1 (emphasis added). Netlist has provided more than 7 pages in response, including:




                                        Ex. A (Responses to Interrogatory No. 8) at 28, 30–34.




     The Samsung I matter involved the same Samsung defendants represented by the same counsel—

Fish & Richardson PC and Gillam & Smith, LLP. Ex. A at 29. Netlist has also produced the report to

Samsung here. Zhao Decl. ¶ 2.

                                                      Ex. A at 29.



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        A.        Netlist Responded to Samsung’s Interrogatory No. 8 in Full Accord with this
                  Court’s Discovery Order

        Netlist has adequately described its damage theories and responded to Interrogatory No. 8,

and will provide a full damages computation as part of its Expert Disclosures. Dkt. 56 ¶ 3(c). Netlist

already has identified categories of damages it will seek, Ex. A at 28;



             , id. at 29; identified potentially comparable licenses, id. at 30; and detailed key technical

advantages provided by each asserted patent, along with non-infringing alternatives, id. at 30–34.

        Netlist has also produced all relevant documents located by a reasonable search to date. Most

of the documents relevant to damages are naturally in Samsung’s possession because a reasonable

royalty is generally a proportion of an infringer’s own sales. See Fed. R. Civ. P. 26 advisory committee’s

note to 1993 amendment (“[A] party would not be expected to provide a calculation of damages

which, as in many patent infringement actions, depends on information in the possession of another

party or person.”). To the extent that Netlist does possess documents relevant to the computation of

damages and/or responsive to Interrogatory No. 8, it has produced those documents, including: its

sales data, financial data, SEC filings, and license agreements. Zhao Decl. ¶ 3. Apart from the Samsung

I expert report—which it was already in possession of itself—and which Netlist has now formally

produced, Samsung has not identified any categories of documents that it contends have been

withheld.

        Nothing more is required at this stage. It is perfectly appropriate to make damage disclosures

in a stepwise fashion as the details of a complex theory materialize over the course of discovery and

expert analysis. See Kaist IP US LLC v. Samsung Elecs. Co., 2017 WL 9937763, at *1 (E.D. Tex. Dec. 15,

2017) (“[T]his Court has consistently recognized that answers to contention interrogatories change

over time as theories of liability and non-infringement crystallize. Thus, answers to such

interrogatories are often best left until the close of discovery.”); Huawei Techs. Co. v. T-Mobile US, Inc.,


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2017 WL 9988630, at *1 (E.D. Tex. Aug. 25, 2017) (“[A] party is not entitled to early disclosure of

expert opinions through interrogatory.”).

       B.      Samsung Seeks Premature Expert Discovery

       The only purported deficiencies that Samsung attributes to Netlist’s disclosures are clear calls

for premature “computation of damages,” which are properly “deferred until the time for Expert

Disclosures” as a matter of this Court’s Discovery Order. Dkt. 56 ¶ 3(c).

       Samsung’s demands plainly entail damage computation rather than just underlying facts. It

seeks to compel responses on two topics: “(1) how the alleged benefits of the Asserted Patents would

allegedly impact the price or profit of the accused products and by how much; (2) how the parties to

the hypothetical negotiation would apportion any such impact on price or profit.” Dkt 176 (Motion)

at 6. To the extent that Netlist can explain “how the alleged benefits of the Asserted Patents would

allegedly impact the price or profit of the accused products” without a detailed computation by an

expert, it has already done so. In particular, its response to Interrogatory No. 8 describes specific

products and market segments that Samsung could not supply without the patented technology. Ex.

A at 32–34. Samsung’s request for a more specific identification of “by how much” the “asserted

Patents would allegedly impact the price or profit of the accused products” would require Netlist to

provide a computation of damages. Similarly, apportionment is one step in the computation of patent

damages that requires expert analysis. Thus, Samsung’s claim that it is only seeking facts—rather than

a premature computation—is simply not true.

       Moreover, it is “particularly appropriate” for a plaintiff “not [to be] able to produce final,

complete, detailed information about the categories of its damages until expert discovery,” particularly

“where the measure of damages is not a straightforward mathematical equation.” Ice Castles, LLC v.

LaBelle Lake Ice Palace LLC, 2021 WL 4138398, at *3 (D. Idaho Sept. 10, 2021). What Samsung

demands here—apportionment and valuation of technical benefits of the patents—plainly cannot be



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reduced to a neat equation, may require regression analysis and other expert tools to quantify the

appropriate measure of damages, and retains an irreducible aspect of expert judgment. Following the

Federal Circuit’s lead, this Court has repeatedly recognized that “estimating a reasonable royalty and

apportionment is never an exact science. At some level an expert must be allowed to rely on and use

his or her judgment, provided the opinion is supported by facts and data.” PerdiemCo, LLC v. Industrack

LLC, 2016 WL 6611488, at *3 (E.D. Tex. Nov. 9, 2016); Elbit Sys. Land & C4I Ltd. v. Hughes Network

Sys., LLC, 2017 WL 2651618, at *16 (E.D. Tex. June 20, 2017) (same); see also State Indus., Inc. v. Mor-

Flo Indus., Inc., 883 F.2d 1573, 1576 (Fed. Cir. 1989) (“Deciding how much to award as [patent]

damages is not an exact science.”). Netlist should not be compelled to produce answers to such

questions prior to timely Expert Disclosures.

        And though Samsung’s demand for documents remains unclear, to the extent it does explain

what documents it seeks, this demand is similarly premature. For example, Samsung insinuates that

Netlist must be withholding documents because “Netlist’s damages report(s) are due next month”

and “Netlist is surely aware of factual information and documents on which it intends to rely for those

reports.” Dkt. 176 at 4. But demanding identification of all documents that the experts will ultimately

rely on is premature, and demanding the contents of expert drafts is improper. See Fed. R. Civ. P.

26(a)(2)(B)(ii) (part of expert disclosure is “the facts or data considered by the witness in forming” the

expert’s opinions); Fed. R. Civ. P. 26(a)(2)(D) (setting a single deadline for expert disclosures including,

inter alia, the report and underlying facts or data); see also Fed. R. Civ. P. 26(b)(4)(B) (work-product

protection covers “drafts of any report or disclosure required under Rule 26(a)(2), regardless of the

form in which the draft is recorded”); SiteLock, LLC v. GoDaddy.com, LLC, 2022 WL 16577869, at *2

(N.D. Tex. Oct. 31, 2022) (“Rule 26(b)(4)(B)’s . . . provides blanket protection of drafts”), aff’d sub

nom. SiteLock, L.L.C. v. GoDaddy.com, L.L.C., 2023 WL 4015117 (5th Cir. June 13, 2023).




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        C.       Samsung Relies on Non-Controlling Authority Inconsistent with this Court’s
                 Practice

        Samsung relies solely on two cases that conflict with this District’s practice and orders. In one,

the Federal Circuit held that a different district court was “within its discretion” to require disclosures

“early in the litigation,” including “computations of damages,” according to its own local rules. MLC

Intell. Prop., LLC v. Micron Tech., Inc., 10 F.4th 1358, 1372 (Fed. Cir. 2021); see also id. at 1371 n.2 (citing

one of the Northern District of California cases on which N.D. Cal. Pat. R. 3-8 is based). But the

reasoning of MLC undermines Samsung’s arguments in this Court, which has exercised its own

discretion to create a different regime and “has yet to impose” any requirement approaching the

“detailed level of damages disclosures required in the Northern District of California.” Realtime Data

LLC v. EchoStar Corp., 2018 WL 6257472, at *2 n.6 (E.D. Tex. Nov. 15, 2018). Instead, the Sample

Discovery Order for Patent Cases Assigned to Judge Rodney Gilstrap and Judge Roy Payne—and

consequently the Discovery Order governing this litigation—expressly allow “the disclosure of the

computation of damages [to] be deferred until the time for Expert Disclosures.” Dkt. 56 ¶ 3(c); Ilife

Techs., Inc. v. Nintendo of Am., Inc., 2017 U.S. Dist. LEXIS 87769, at *55 n.64, *58 (N.D. Tex. May 30,

2017) (noting that “deferring disclosure of damages materials” is a “practice[] common in patent

cases” and quoting this Court’s Sample Discovery Order).

        The Delaware Personal Audio case likewise relies on case law from the Northern District of

California and embodies the same policy of early disclosure that is inconsistent with this District’s

rules. Pers. Audio, LLC v. Google LLC, 2018 WL 4502002, at *2 (D. Del. Sept. 20, 2018) (citing THX,

Ltd. v. Apple, Inc., 2016 WL 2899506, at *8 (N.D. Cal. May 13, 2016)). Thus, these out-of-District cases

do not override this Court’s practice and the Discovery Order in this Action.

        D.       Samsung Fails to Identify Any Meaningful Prejudice

        Samsung does not provide any support for its claim that it will suffer prejudice unless Netlist

is ordered to provide additional responses prior to expert disclosures. Instead, it makes the conclusory


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assertion that Netlist’s identification of the patented benefits does “not provide the information

necessary for Samsung to develop rebuttal evidence” because it is purportedly “vague.” Dkt. 176 at 5.

Not so. Netlist’s Response expressly connected the benefits of each patent to the particular types of

products that Samsung would no longer be able to market without the patented technology. Ex. A at

32–34. Samsung should easily be able to use this information to assemble its own evidence and

arguments regarding non-infringing alternatives (to the extent any exist), and it has not identified any

reason it is not able to do so.


Dated: October 26, 2023                             Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I hereby certify that, on October 26, 2023, a copy of the foregoing was served to all counsel

of record via the Court’s ECF system.

                                                      /s/Yanan Zhao
                                                      Yanan Zhao


                 CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

       I certify that the following document is authorized to be filed under seal pursuant to the

Protective Order entered in this case.


                                                      /s/Yanan Zhao
                                                      Yanan Zhao




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